      Case 2:20-cr-00080-LMA-DPC Document 90 Filed 09/08/20 Page 1 of 1
MINUTE ENTRY
CURRAULT, M.J.
SEPTMEBER 8,2020

                       LINITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


LINITED STATES OF AMERICA                                 CRIMINAL

VERSUS                                                    NO.20-80

RYAN WHEATEN                                              SECTION I



                          CRIMINAL         RAIGNMENT

AppEARANCES:X DEFENDA NT     btrgnfs       +o a,f Pqa Cc.       lor /,do.
                 X COTXSEL FOR DEFENDANT         D:              t.l
                 X NSSTSTANT U.S. ATTORNEY BRIAN KLEBBA
                   INTERPRETER                                                      0|b
                          (TIME:          Mto
}t / READING OF THE INDICTMENT: READ W         UMMARIZED
 X / DEFENDANT    ADVISED  OF THE MAXIMUM PEN
 X / DEFENDANT PLEADS NOT GUILTY TO ALL COUNTS
 ]L / SPECIAL PLEADINGS SHALL BE FILED NO LATER THAN SEVEN DAYS PRIOR TO
      THE FINAL PRE,TRIAL CONFERENCE UNLESS OTHERWISE ORDERED BY THE
      DISTRICT JUDGE,

     DE,FENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSHAL
-/
VI orT.PNDANT RELEASED ON ORIGINAL BOND

 / BAIL SET AT

_/ DEFENDANT     RELEASED ON NEW BOND

     OTHER
-/
NOTICE: ]t / PRE-TRIAL CONFERENCE: OCTOBER      7,2O2O   AT   3:OO   P.M.

BEFORE UNITED STATES DISTRICT JUDGE LANCE M. AFRICK

X / TRIAL : NOVEMBER 2.2020 AT 8:30 A.M.

BEFORE UNITED STATES DISTRICT JUDGE LANCE M. AFRICK

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